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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA


                                         Alexandria Division


    BMG RIGHTS MANAGEMENT(US)
    LLC,et al..

                                                               Civil No. l:14-cv-1611
                           Plaintiffs,
                   V.
                                                               Hon. Liam O'Grady
    COX ENTERPRISES, INC., et al..

                           Defendants.


                                              ORDER

        This matter comes before the Court on Cox's Motion to Preclude Evidence and

 Testimony as to Certain Internal Cox Emails and Communications Concerning Cox's

 Termination Policies and Treatment of Alleged Infringers(Dkt. 936). For the reasons explained

 below, the motion is DENIED.

        Cox seeks to preclude BMG from introducing certain emails that Cox considers

 irrelevant. Cox argues that the Fourth Circuit has "clarified the legal standards for knowledge

 and willful blindness to focus the inquiry on 'specific instances of infringement.'" Dkt. 937 at 1.

 Because "[n]one of the emails at issue ...concerns any BMG work at issue," Cox argues,"none

 is relevant to actual knowledge." Id. at 2. Cox also argues that the emails are not relevant to "any

 deliberate action Cox took that could have willfully blinded it to specific instances of

 infringement of any works at issue here." Id.

        The Court finds that the emails at issue are highly probative on the issue of willfulness

 and willful blindness, and that their probative value is not substantially outweighed by a danger

 of unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or


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